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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                   )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                              )
                                               )      SPECIAL MASTER COHEN
THIS DOCUMENT RELATES TO:                      )
“Track One Cases”                              )
                                               )
                                               )      DISCOVERY RULING NO. 3
                                               )


       On June 30, 2018, the undersigned issued Discovery Ruling No. 2 (docket no. 693), which

set certain parameters regarding the scope of discovery. Specifically, Discovery Ruling No. 2

identified the temporal scope, geographic scope, product scope, and other requirements that applied

to defendants’ discovery production obligations.

       In the wake of that Ruling, the Special Master received numerous letters from various

defendants seeking reconsideration.      Some of these submissions included confidential draft

objections that, defendants stated, would be filed with the Court absent a change in ruling to further

narrow the scope of discovery. Plaintiffs then responded to defendants’ submissions, and some

defendants replied; all told, the Special Master has reviewed about 75 pages worth of post-Ruling

argument, not including exhibits. In light of those submissions, the Special Master now AMENDS

his prior Ruling as set out below.
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Geographic Scope

         As stated in Discovery Ruling No. 2, “[t]he plaintiffs in the Track One cases are all located

in the Northern District of Ohio, but Plaintiffs’ discovery requests are largely national in scope.”

Docket no. 693 at 3. The Special Master concluded (and defendants largely conceded) that a

national scope was appropriate for certain types of discovery, referred to as “Category One

Discovery.” Id. at 4. Specifically, the Ruling stated that “Defendants must produce on a national

basis documents related to marketing and promotion, brand planning and strategy, sales training and

sales bulletins, prescriber educational materials, distribution monitoring, advocacy groups, speakers

bureau programs, continuing medical education, diversion, suspicious order reports, adverse event

reports, and regulatory activity. The defendants’ policies and actions regarding all of these subjects

are (and were) primarily centralized and over-arching, applying broadly to their opioid products.”

Id.

         The Ruling further addressed “Category Two Discovery,” which “related to decentralized,

customer-specific materials, such as sales call notes and transactional data.” Id. Plaintiffs argued

for at least a regional, if not national scope, while defendants sought “to limit geographic production

of these materials to Ohio, where plaintiffs in the Track One cases are located.” Id. The Special

Master entered “a compromise ruling: defendants shall produce customer-specific information for

the States of Ohio, Pennsylvania, West Virginia, Kentucky, Illinois, Georgia, and Florida.” Id. at

5. This compromise was designed to limit the burden on defendants while still allowing plaintiffs

to fully pursue their factual and legal theories, including the theory that opioids “migrate” between

cities, counties, and States.

         Nonetheless, defendants now unanimously implore the Special Master to limit further the


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geographic scope of discovery, asserting that Discovery Ruling No. 2 did not sufficiently account

for the burden that a seven-State scope places on both defendants and other parties. Defendants note

the bellwether trial scheduled for March of 2019 involves only two Ohio Counties, but there are over

650 Counties in the seven States listed in Discovery Ruling No. 2. Thus, not only will defendants

have to produce a huge amount of transactional data and localized sales information for cities and

counties whose claims are not being tried (which includes searching for documents from a great

number of additional custodians), but defendants will also have to seek discovery from those non-

party cities and counties as well.

       Upon further reflection, the Special Master agrees that the seven-State geographic scope set

out in Discovery Ruling No. 2 is not “proportional to the needs of the case, considering the

importance of the issues at stake in the action, the amount in controversy, the parties’ relative access

to relevant information, the parties’ resources, the importance of the discovery in resolving the

issues, and whether the burden or expense of the proposed discovery outweighs its likely benefit.”

Fed. R. Civ. P. 26(b)(1). Although the Special Master remains convinced that all of the evidence

defendants would produce within the seven named States would have some relevance to the

bellwether trial,1 this scope is not proportional to the greatest needs and burdens of the parties



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          The Special Master admits that Discovery Ruling No. 2 was entered with one eye toward
future bellwether cases and also State-court litigation – in other words, with ensuring plaintiffs and
defendants begin now with discovery for other cases that have a fair chance of going to trial. This
Discovery Ruling No. 3 reflects a much-sharper focus on pursuing only the discovery that is
absolutely necessary and appropriate for the bellwether trial cases. To some extent, the smaller
geographic scope set out in this Ruling hampers plaintiffs’ ability to prove their theory that opioids
“migrate” between States, but the Special Master ultimately concludes the discovery burden on
defendants associated with a greater geographic scope outweighs the plaintiffs’ needs for discovery
on this particular issue – in part because other discovery, such as ARCOS data, touches on the same
theory.

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preparing for that trial, especially in light of the Court’s tight trial schedule.

        Accordingly, the Special Master amends Discovery Ruling No. 2 as follows. The national

scope for Category One Discovery is unchanged. The geographic scope of Category Two Discovery

is now changed to include only Cuyahoga and Summit Counties. This change is designed to

produce a substantial reduction in discovery burden on the defendants.



Temporal Scope

        In addition to asking the undersigned to place additional limits on the width of discovery

(geographic scope), defendants also ask for additional limits on discovery depth (temporal scope).

In Discovery Ruling No. 2, the Special Master acknowledged that “[t]he question of temporal scope

is the most difficult of the issues” raised by the parties. Docket no. 693 at 8. Ultimately, the Special

Master ruled that:

•       manufacturer defendants shall produce Category One Discovery and Category Two
        Discovery with a cut-off date of one year prior to the launch date of the opioid product in
        question.

•       manufacturer defendants shall produce Category One Discovery and Category Two
        Discovery for generic opioids with a cut-off date of one year before it first sold that generic
        product.

•       manufacturer defendants shall produce transactional data (which is otherwise in Category
        Two) and Suspicious Order Reports (which is otherwise in Category One) with a cut-off date
        of January 1, 1996.

•       distributor defendants shall produce transactional data and Suspicious Order Reports with
        a cut-off date of January 1, 1996.

•       distributor defendants shall produce all other discovery with a cut-off date of January 1,
        2006.

Id. at 10-11. These rulings recognize that even decades-old procedures, polices, and actions may


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be highly relevant to show important background, and even the actual causes, of the current tidal

wave of opioid use in the United States. See In re Welding Fume Products Liab. Litig., 2010 WL

7699456 at *19 n.104 (N.D. Ohio June 4, 2010) (concluding that “certain historical documents

discovered from defendants, trade organizations, and other entities dating back several decades”

were relevant and admissible); id. at *89 (“a document that tends to show, for example, that a

defendant knew in 1940 that exposure to welding fumes can cause brain damage is highly relevant;

the fact that the document was created before the plaintiff was ever exposed to welding fumes does

not reduce the document’s relevance. To the contrary, the document is arguably more probative

given its age, because it shows the defendant knew of the hazard in time to craft a meaningful

warning for the plaintiff . . . .”).

        The Special Master recognized in Discovery Ruling No. 2 that “the earlier the cut-off date

for document production, the more burdensome is the discovery request on defendants, and

potentially the less relevant,” docket no. 693 at 8, and accordingly set different cut-off dates for

different types of discovery using careful “calculation with an eye toward providing plaintiffs with

evidence they need but no more than that, and with as little burden on defendants as this measure

allows,” id. at 10. Defendants assert the temporal scope described above is still “too deep,” and

argue again that the cut-off dates should be much sooner, such as 2006 or 2013. The Special Master

rejects this argument for reconsideration. As noted, “Plaintiffs provide data showing opioid

prescriptions and distributions began to increase dramatically in 1995, which is when Purdue

launched Oxycontin.” Id. at 9. If plaintiffs, the Court, and a fact-finder are only allowed to see (for

example) evidence of Suspicious Order Reports (“SORs”) beginning in 2006, but defendants

determined whether an Order was Suspicious based on Orders placed in 2005, then the important


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beginning of the story is completely missing. See 21 C.F.R. §1301.74(b) (defining Suspicious

Orders as “orders of unusual size, orders deviating substantially from a normal pattern, and orders

of unusual frequency.”). The cut-off dates set out above do tailor the defendants’ burden. The fit

may not be perfect, but it is entirely “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

Finally, to the extent defendants insist these cut-off dates “compound” their burden because of the

seven-State geographic scope, the Special Master has entirely relieved that compounding burden.



Scope of Products and Prior Productions

        Defendants also offer arguments objecting to earlier rulings on the scope of opioid products

that are subject to discovery (“all opioid products that are or ever were classified as Schedule II

under the Controlled Substances Act,” including “branded, unbranded, and generic drugs”), and to

the scope of prior discovery productions (“If a defendant produced discovery in any prior litigation

that involved the marketing or distribution of opioids, that discovery must be produced in the

MDL.”). Id. at 3, 6.2 Put simply, the Special Master finds well-taken none of the defendants’

arguments for reconsideration. The Special Master find especially non-meritorious the argument

that, because Discovery Ruling No. 2 made explicit that discovery regarding generic products is

relevant and must be produced, defendants will now have to “re-collect and re-review” various

documents. It is and always has been clear that plaintiffs “allege theories of liability based on the

manufacture, sale, or distribution of generic drugs,” id. at 2, so defendants cannot use their earlier

failure to undertake appropriate discovery to now claim excessive burden.


        2
          Given some apparent confusion by a few defendants, the Special Master makes clear that
this ruling includes discovery related to Schedule II drugs during earlier periods of time when they
were listed as Schedule III drugs (e.g. hydrocodone combination products).

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Pharmacies

         The disputes resolved in Discovery Ruling No. 2 were raised by the manufacturer and

distributor defendants. The Special Master did not ask for position papers from the pharmacy

defendants because “their meet-and-confers with plaintiffs [were] ongoing.” Id. at 12. Still, all of

the relevant factors regarding discovery from the pharmacies appeared likely to be much the same

as for the other defendants. Thus, the Special Master stated in Discovery Ruling No. 2 that he

“expects the pharmacy defendants will adhere to the rulings set out above and will not bring a

similar dispute to the undersigned unless there is very good cause for a different outcome.” Id. at

12-13.

         Four of the pharmacy defendants have since written the Special Master, asserting there is,

in fact, good cause for different rulings. All of their arguments, except two, rehash those made by

the manufacturer and distributor defendants. First, the pharmacies assert they were denied due

process because the rulings in Discovery Ruling No. 2 will apply to them even though they were not

given a chance to submit position papers. This argument fails for two reasons: (1) the pharmacies’

arguments regarding geographic, temporal, and product scope are almost entirely contiguous with

those made by the manufacturers and distributors; and (2) more importantly, the Special Master has

now read the pharmacies’ position papers and issues this Ruling having considered their arguments.

         Second, and more substantively, the pharmacies argue their discovery obligations should be

more limited because, unlike the distributor defendants, they distributed opioids only to their own

retail stores. The Special Master rejects this argument. The distribution function of a national retail

pharmacy implicates exactly the same anti-diversion obligations as any other distributor defendant.

The fact that a national retail pharmacy distributes opioids only to its own “captive” retail outlets,


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as opposed to a wholesale distributor that sells opioids to independent customers, does not

substantially change the duties the retailers shoulder, the nature of the claims they face, or the

discovery that is relevant to those claims. Wholesale distributors and retail pharmacies occupy

different points in the opioid supply chain, but the theories of liability each type of defendant faces

in this litigation are essentially the same. See Summit County Second Amended Complaint (docket

no. 513) at 148 (“defendants throughout the supply chain deliberately disregarded their duties to

maintain effective controls and to identify, report, and take steps to halt suspicious orders;” and “the

failure of [all of] the Defendants to maintain effective controls, and to investigate, report, and take

steps to halt orders that they knew or should have known were suspicious, breached both their

statutory and common law duties.”) (emphasis added, some capitalization changed).

        Accordingly, the Special Master declines to impose different discovery obligations on the

pharmacy defendants than on the other distributor defendants.



Other Rulings

        The letters received by the Special Master after issuing Discovery Ruling No. 2 raised several

other disputed matters, such as the scope and timing of 30(b)(6) depositions, sufficiency of

identification of fact witnesses and document custodians, choice of document search terms, and so

on. For the most part, these other matters are not wholly joined. To provide some guidance,

however, the Special Master offers these directives:

•       Dates offered for 30(b)(6) depositions that principally seek other sources of discovery (e.g.,
        the topic is the structure of defendant’s sales department and personnel, as opposed to the
        topic is defendant’s own epidemiological research) should be set as soon as possible.

•       In light of the amended ruling on geographic scope contained in this Ruling, each defendant
        must name appropriate document custodians for Ohio.

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•      Document search terms of single common words (e.g., produce documents that contain the
       words “opioid” and “analysis”) are often unhelpful. Document search term design should
       be more refined (e.g., produce documents that contain the boolean phrase “analysis and
       (‘opioid’ within 10 words of ‘addict!’)”), and preferably should include Technology Assisted
       Review.


Objections to Discovery Ruling No. 2 or this Discovery Ruling No. 3

       Federal Rule of Procedure 53(f)(2) sets a period of 21 days for parties to object to a ruling

by a Special Master. The deadline for objecting to Discovery Ruling No. 2 would therefore be July

21, 2018 (which is a Saturday). Because this Ruling amends Discovery Ruling No. 2, and because

the parties’ letters indicate they have already formed their objections, the Special Master rules that

parties must file any objection to Discovery Ruling No. 2 or Discovery Ruling No. 3 on or before

July 24, 2018. A successful objection must demonstrate abuse of discretion. See Fed. R. Civ. P.

53(f)(5); Order of Appointment (docket no. 69) at 5.

               RESPECTFULLY SUBMITTED,

                                                       /s/ David R. Cohen
                                                       David R. Cohen
                                                       Special Master

Dated: July 17, 2018




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